Case 1:05-cr-10031-.]DT Document 20 Filed 08/18/05 Page 1 of 2 Page|D 25

IN THE UNTTED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
UNITED STATES OF AMERICA
vs CR NO. 1:05-10031-01-T
GREGORY T. KERRENT
ORDER ON CHANGE OF PLEA

This cause came on to be heard on August 17, 2005, Assistant U. S. Attorney,
Jirnmy Croom, appearing for the government, and the defendant appeared in person
and With counsel, M. Dianne Smothers, who Was appointed

With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GU[LTY as charged in Counts l and 2 of the Indictrnent.

This case has been set for sentencing on Tuesdav . November 15. 2005. at 8:30

 

The defendant is remanded to the custody of the United States Marshal.

IT IS SO ORDERED.

/MW )_ Q¢%/
J . TODD
UNTT STATES DISTRICT IUDGE

DATE: / 2 MU?M/L %W$/

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This notice confirms a copy of the document docketed as number 20 in
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ENNESSEE

 

Jimmy L. Croom

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

